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  17
                                      UNITED STATES DISTRICT COURT
  18
                                    CENTRAL DISTRICT OF CALIFORNIA
  19
                                                 SOUTHERN DIVISION
  20

  21 SCOTT WILFORD; BONNIE                                       Case No. 8:18-cv-1169
     HAYHURST; REBECCA
  22 FRIEDRICHS; MICHAEL MONGE;                                  PLAINTIFFS’ CLASS-ACTION
                                                                 PLAINTIFFS'
     HARLAN ELRICH; JELENA                                       COMPLAINT
  23 FIGUEROA; AND, MIKE RAUSEO,
     AS INDIVIDUALS, AND ON
  24 BEHALF OF ALL OTHERS
     SIMILARLY SITUATED,
  25
                                               Plaintiffs,
  26
                v.
  27
       NATIONAL EDUCATION
  28   ASSOCIATION OF THE UNITED
       STATES; AMERICAN FEDERATION
                                                             1
                                                        COMPLAINT
       Clarkilill\94248\329385\219891177.v1-7/2/18
       ClarkHill\94248\329385\219891177.v1-7/2/18
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       OF TEACHERS; CALIFORNIA
   1   TEACHERS ASSOCIATION;
       CALIFORNIA FEDERATION OF
   2   TEACHERS; COMMUNITY
       COLLEGE ASSOCIATION;
   3   SADDLEBACK VALLEY
       EDUCATORS ASSOCIATION;
   4   EXETER TEACHERS ASSOCIATION;
       SAVANNA DISTRICT TEACHERS
   5   ASSOCIATION; CERTIFICATED
       HOURLY INSTRUCTORS, LONG
   6   BEACH CITY
               CITY COLLEGE
                     COLLEGECHAPTER;
                              HAPTER;
       COAST FEDERATION OF
   7   EDUCATORS, LOCAL 1911; SOUTH
       ORANGE COUNTY COMMUNITY
   8   COLLEGE DISTRICT FACULTY
       ASSOCIATION; SANGER UNIFIED
   9   TEACHERS ASSOCIATION;
       ORANGE UNIFIED EDUCATION
  10   ASSOCIATION; UNITED TEACHERS
       LOS ANGELES; SADDLEBACK
  11   VALLEY UNIFIED SCHOOL
       DISTRICT; EXETER UNIFIED
  12   SCHOOL DISTRICT; SAVANNA
       SCHOOL DISTRICT; LONG BEACH
  13   COMMUNITY COLLEGE DISTRICT;
       COAST COMMUNITY COLLEGE
  14   DISTRICT; SOUTH ORANGE
       COUNTY COMMUNITY COLLEGE
  15   DISTRICT; SANGER UNIFIED
       SCHOOL DISTRICT; ORANGE
  16   UNIFIED SCHOOL DISTRICT; LOS
       ANGELES UNIFIED SCHOOL
  17   DISTRICT; DR. CRYSTAL TURNER,
       IN HER OFFICIAL CAPACITY; TIM
  18   HIRE, IN HIS OFFICIAL CAPACITY;
       DR. SUE JOHNSON, IN HER
  19   OFFICIAL CAPACITY; DR. REAGAN
       ROMALI, IN HER OFFICIAL
  20   CAPACITY; DR. JOHN
       WEISPFENNING, IN HIS OFFICIAL
  21   CAPACITY; DR. KATHLEEN
       BURKE, IN HER OFFICIAL
  22   CAPACITY; MATTHEW NAVO, IN
       HIS OFFICIAL CAPACITY; DR.
  23   GUNN MARIE HANSEN, IN HER
       OFFICIAL CAPACITY; AUSTIN
  24   BEUTNER, IN HIS OFFICIAL
       CAPACITY,
  25
                                            Defendants.
  26

  27

  28

                                                          2
                                                     COMPLAINT
       Clarkilill\94248\329385\219891177.v1-7/2/18
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   1            Plaintiffs SCOTT WILFORD, BONNIE HAYHURST, REBECCA
   2   FRIEDRICHS, MICHAEL MONGE, HARLAN ELRICH, JELENA FIGUEROA
   3   and MIKE RAUSEO (collectively, hereinafter “Plaintiffs”)
                                                  "Plaintiffs") are current or former
   4   public-school teachers who bring this class action on behalf of themselves and all
   5   others similarly situated, seeking redress for
                                                  for the
                                                      the defendants’
                                                          defendants' past and ongoing
   6   violations of their constitutionally protected rights. The defendants have violated
   7   the representative plaintiffs’
                          plaintiffs' constitutional rights by, amongst other things, forcing
   8   them to pay fair share service fees as a condition of their employment. Plaintiffs on
   9   behalf of themselves and all others similarly situated allege as follows:
  10                                                 PARTIES
  11            1.
                1.       Plaintiff Scott Wilford resides in the County of Orange, California.
  12   Plaintiff Scott Wilford is, and was at all times mentioned herein, a public school
  13   teacher in the State of California. He has been a teacher in Saddleback Valley
  14   Unified School District for over 19 years. As such, Mr. Wilford is a “public
                                                                            "public school
  15   employee” within the
       employee" within the meaning
                            meaning of
                                    of the
                                        the CAL.
                                            CAL. GOV’T. CODE
                                                 Gov'T. CODE §§3546.
                                                                3546. He resigned his
  16   union membership in 2009 and has opted out of paying the non-chargeable portion
  17   of agency fees. Yet, he is required, as a condition of his employment, to pay fair
  18   share service fees to Saddleback Valley Educators Association, portions of which
  19   are forwarded to California Teachers Association and National Education
  20   Association of the United States.
  21            2.       Plaintiff Bonnie Hayhurst resides in the County of Orange, California.
  22   Plaintiff Bonnie Hayhurst is, and was at all times mentioned herein, a public school
  23   teacher in the State of California at Exeter Unified School District. As such, Ms.
  24                 “public school
       Hayhurst is a "public school employee"
                                    employee”within
                                              withinthe
                                                     themeaning
                                                        meaningof
                                                                ofthe
                                                                   theCAL.
                                                                       CAL. GOv'T.
                                                                            GOV’T.
  25   C ODE §§3546.
       CODE     3546.She
                      Sheresigned
                          resignedher
                                   herunion
                                       unionmembership
                                            membership in
                                                        in 2008
                                                           2008 and
                                                                and has
                                                                    has opted
                                                                        opted out
                                                                              out of
  26   paying the non-chargeable portion of agency fees. Yet, she is required, as a
  27   condition of her employment, to pay fair share service fees to Exeter Teachers
  28   Association, portions of which are forwarded to California Teachers Association

                                                         3
                                                     COMPLAINT
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   1   and National Education Association of the United States.
   2            3.
                3.       Plaintiff Rebecca Friedrichs resides in the County of Orange,
   3   California. Plaintiff Rebecca Friedrichs was at all times mentioned herein, a public
   4   school teacher in the Savanna School District in the State of California. As such,
   5                        “public school
       Ms. Friedrichs was a "public school employee"
                                           employee” within
                                                     withinthe
                                                            themeaning
                                                               meaningof
                                                                       ofthe
                                                                          theCAL.
                                                                             CAL.
   6   GOV’T. CODE
       Gov'T. CODE §§3546.
                      3546.She
                           Sheresigned
                               resigned her
                                        her union
                                            union membership
                                                  membership in
                                                             in 2012 and has opted
   7   out of paying the non-chargeable portion of agency fees. Yet, she is required, as a
   8   condition of her employment, to pay fair share service fees to Savanna District
   9   Teachers Association, portions of which are forwarded to California Teachers
  10   Association and National Education Association of the United States.
  11            4.       Plaintiff Michael Monge resides in the County of Orange, California.
  12   Plaintiff Michael Monge is, and was at all times mentioned herein, employed by
  13   one or more of various community colleges in the State of California, including
  14   Long Beach Community College District, Coast Community College District, and
  15   South Orange County Community College District. As such, Mr. Monge is a
  16   “public school
       "public school employee"
                      employee”within
                                withinthe
                                       themeaning
                                          meaningofofthe
                                                      theCAL.
                                                          CAL. Gov'T.
                                                               GOV’T.CODE
                                                                      CODE § 3546. He
  17   resigned his union memberships and has opted out of paying the non-chargeable
  18   portion of agency fees. Yet, he is required, as a condition of his employment with
  19   Long Beach Community College District, to pay fair share service fees to
  20   Certificated Hourly Instructors, Long Beach City College Chapter, portions of
  21   which are forwarded Community College Association, California Teachers
  22   Association, and to National Education Association of the United States. He is
  23   required, as a condition of his employment with Coast Community College District,
  24   to pay fair share service fees to Coast Federation of Educators, Local 1911, portions
  25   of which are forwarded to California Federation of Teachers and American
  26   Federation of Teachers. He
                               He is
                                   is required,
                                      required, as
                                                as aa condition
                                                      condition of his employment with
  27   South Orange County Community College District, to pay fair share service fees to
  28   South Orange County Community College District Faculty Association, portions of

                                                         4
                                                     COMPLAINT
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   1   which are forwarded to Community College Association, California Teachers
   2   Association, and National Education Association of the United States.
   3            5.
                5.       Plaintiff Harlan Elrich resides in Fresno County, California. Plaintiff
   4   Harlan Elrich is, and was at all times mentioned herein, a public school teacher in
   5   the State of California. He has been a public school teacher in California for nearly
   6   25 years and a teacher in the Sanger Unified School District for 13 years. As such,
   7                   “public school employee"
       Mr. Elrich is a "public        employee” within
                                                within the
                                                       the meaning
                                                           meaning of
                                                                   of the
                                                                       the CAL.
                                                                           CAL. GOV’T.
                                                                                Gov'T.
   8   C ODE §§3546.
       CODE     3546.He
                      Heresigned
                         resignedhis
                                  hisunion
                                      unionmembership
                                           membership in
                                                       in 2012
                                                          2012 and
                                                               and has
                                                                   has opted
                                                                       opted out
                                                                             out of
   9   paying the non-chargeable portion of agency fees. Yet, he is required, as a condition
  10   of his employment, to pay fair share service fees to Sanger Unified Teachers
  11   Association, portions of which are forwarded to California Teachers Association
  12   and National Education Association of the United States.
  13            6.
                6.       Plaintiff Jelena Figueroa resides in the County of Orange, California.
  14   Plaintiff Jelena Figueroa is, and was at all times mentioned herein, a public school
  15   teacher in the State of California at the Orange Unified School District for 14 years.
  16                              “public school
       As such, Ms. Figueroa is a "public school employee"
                                                 employee” within
                                                           withinthe
                                                                  themeaning
                                                                     meaningof
                                                                             ofCAL.
                                                                               CAL.
  17   GOV’T. CODE
       Gov'T. CODE §§3546.
                      3546.She
                           Sheresigned
                               resigned her
                                        her union
                                            union membership
                                                  membership in
                                                             in 2008 and has opted
  18   out of paying the non-chargeable portion of agency fees. Yet, she is required, as a
  19   condition of her employment, to pay fair share service fees to Orange Unified
  20   Education Association, portions of which are forwarded to California Teachers
  21   Association and National Education Association of the United States.
  22            7.
                7.       Plaintiff Mike Rauseo resides in the Ventura County, California.
  23   Plaintiff Mike Rauseo is, and was at all times mentioned herein, a public school
  24   teacher in the State of California at the Los Angeles Unified School District for
  25   over 18 years. As such, Mr. Rauseo is a “public
                                               "public school employee”
                                                              employee" within the
  26           of CAL.
       meaning of CAL. GOV’T. C
                       Gov'T.  ODE §§3546.
                              CODE    3546.He
                                           Heresigned
                                              resignedhis
                                                      hisunion
                                                          union membership
                                                                membership and has
  27   opted out of paying the non-chargeable portion of agency fees. Yet, he is required,
  28   as a condition of his employment, to pay fair share service fees to United Teachers

                                                         5
                                                     COMPLAINT
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   1   Los Angeles, portions of which are forwarded to California Teachers Association
   2   and National Education Association of the United States.
   3            8.
                8.       Defendant National Education Association of the United States
   4   (“NEA”) is the largest teachers'
       ("NEA")                teachers’ union
                                        union in
                                              in the
                                                 the United States and one of the largest
   5   public-sector unions. It receives a portion of the fair share service fees that are
   6   extracted from Plaintiffs and other public school employees under California
   7   agency-shop laws. It also receives portions of agency fees paid by persons in other
   8   states who are not union members. NEA is a major participant in political activities
   9   at the national, state, and local levels. NEA is headquartered in Washington DC
  10   and engages in business throughout California including in the County of Orange.
  11            9.
                9.       Defendant American Federation
                                            Federation of
                                                       of Teachers
                                                          Teachers (“AFT”)
                                                                    ("AFT") is
                                                                            is aa teachers’
                                                                                  teachers'
  12   union in the United States and one of the largest public-sector unions. It receives a
  13   portion of the fair share service fees that are extracted from Plaintiffs and other
  14   public school employees under California agency-shop laws. It also receives
  15   portions of agency fees paid by persons in other states who are not union members.
  16   AFT is a major participant in political activities at the national, state, and local
  17   levels. AFT is headquartered in Washington DC and engages in business
  18   throughout California including in the County of Orange.
  19            10.
                10.      Defendant California Teachers Association (“CTA”)
                                                                   ("CTA") is the state
  20   affiliate of NEA. It is the largest teachers’
                                           teachers' union in California. CTA engages in
  21   business in Orange County, California. It receives a portion of the fair share
  22   service fees that are extracted from Plaintiffs and other public school employees
  23   under California agency-shop laws. CTA is a major participant in political
  24   activities at the state and local levels. CTA is headquartered in Burlingame,
  25   California, and engages in business throughout the State of California, including in
  26   the County of Orange.
  27            11.
                11.      Defendant California Federation of Teachers (“CFT”)
                                                                     ("CFT") is the state
  28   affiliate of AFT. It is a teachers’
                                 teachers' union in California. It receives a portion of the

                                                         6
                                                     COMPLAINT
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   1   fair share service fees that are extracted from Plaintiffs and other public school
   2   employees under California agency-shop laws. CFT is a major participant in
   3   political activities at the state and local levels. CFT is headquartered in Burbank,
   4   California, and engages in business throughout the State of California, including in
   5   the County of Orange.
   6            12.
                12.      Defendant Community College Association (“CCA”)
                                                                 ("CCA") is the
   7   community college faculty union in California. It receives a portion of the fair
   8   share service fees that are extracted from Plaintiffs and other public school
   9   employees under California agency-shop laws. CCA is a major participant in
  10   political activities at the state and local levels. CCA engages in business
  11   throughout the state of California, including in the County of Orange.
  12            13.
                13.      Defendant Saddleback Valley Educators Association (“SVEA”)
                                                                           ("SVEA") is the
  13   “recognized employee organization"
       "recognized          organization” in the Saddleback Valley Unified School
  14             within the
       District, within  the meaning
                             meaningof
                                     ofCAL.
                                       CAL. GOV’T. CODE
                                            Gov'T. CODE §§3546.
                                                           3546.SVEA
                                                                SVEA isis headquartered
                                                                          headquartered
  15   in Laguna Hills, California, and conducts its business and operations in the County
  16   of Orange. Its state affiliate is CTA and its national affiliate is NEA.
  17            14.
                14.      Defendant Exeter Teachers Association (“ETA”)
                                                               ("ETA") is the “recognized
                                                                              "recognized
  18   employee organization”
                organization" in the in the Exeter Unified School District, within the
  19           of CAL.
       meaning of CAL. GOV’T. C
                       Gov'T.  ODE §§3546.
                              CODE    3546.ETA
                                            ETAisisheadquartered
                                                    headquartered in
                                                                   in Exeter,
                                                                      Exeter, California,
  20   and conducts its business and operations in the State of California. Its state affiliate
  21   is CTA and its national affiliate is NEA.
  22            15.
                15.      Defendant Savanna District Teachers Association (“SDTA”)
                                                                         ("SDTA") is the
  23   “recognized employee organization"
       "recognized          organization” in the Savanna School District within the
  24           of CAL.
       meaning of CAL. GOV’T. C
                       Gov'T.  ODE §§3546.
                              CODE    3546.SDTA
                                            SDTAisisheadquartered
                                                    headquartered in
                                                                  in Anaheim,
  25   California, and conducts its business and operations in the County of Orange. Its
  26   state affiliate is CTA and its national affiliate is NEA.
  27            16.
                16.      Defendant Certificated Hourly Instructors, Long Beach City College
  28   Chapter (“CHI”)        “recognized employee organization"
               ("CHI") is the "recognized          organization” for Long Beach City

                                                         7
                                                     COMPLAINT
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   1   College District,
               District, within
                         within the
                                 themeaning
                                    meaningofofCAL.
                                                CAL. Gov'T.
                                                     GOV’T.CODE
                                                            CODE §§ 3546.
                                                                    3546. CHI is
   2   headquartered in San Francisco, California, and conducts its business and
   3   operations in the State of California, including in the County of Orange. Its state
   4   affiliates are CCA and CTA, and its national affiliate is NEA.
   5            17.
                17.      Defendant Coast Federation of Educators, Local 1911 (“CFE”)
                                                                             ("CFE") is the
   6   “recognized employee organization"
       "recognized          organization” for
                                          for Coast
                                              Coast Community College District, within
   7       meaning of
       the meaning of CAL.
                      CAL. GOV’T. C
                           Gov'T.   ODE §§3546.
                                  CODE     3546.CFE
                                                CFEisisheadquartered
                                                        headquartered in
                                                                      in Costa
                                                                         Costa Mesa,
   8   California, and conducts its business and operations in the County of Orange. Its
   9   state affiliate is CFT and its national affiliate is the AFT.
  10            18.
                18.      Defendant South Orange County Community College District Faculty
  11   Association (“SOCCCDFA”)
                   ("SOCCCDFA") is the “recognized          organization” for South
                                       "recognized employee organization"
  12   Orange County
              County Community
                     Community College
                               CollegeDistrict,
                                       District,within
                                                withinthe
                                                       themeaning
                                                           meaningofofCAL.
                                                                       CAL.GOV'T.
                                                                           GOV’T.
  13   C ODE §§3546.
       CODE     3546.SOCCCDFA
                      SOCCCDFAisisheadquartered
                                   headquartered in
                                                  in Mission
                                                     Mission Viejo,
                                                             Viejo, California,
                                                                    California, and
  14   conducts its business and operations in the County of Orange. Its affiliate is CCA,
  15   its state affiliate is CTA, and its national affiliate is NEA.
  16            19.
                19.      Defendant Sanger Unified Teachers Association (“SUTA”)
                                                                       ("SUTA") is the
  17   “recognized employee organization"
       "recognized          organization” in the Sanger Unified School District, within
  18       meaning of
       the meaning of CAL.
                      CAL. GOV’T. CODE
                           Gov'T. CODE §§3546.
                                          3546.SUTA
                                                SUTAisisheadquartered
                                                        headquartered in Sanger,
  19   California, and conducts its business and operations in the State of California. Its
  20   state affiliate is CTA and its national affiliate is NEA.
  21            20.      Defendant Orange Unified Education Association (“OUEA”)
                                                                        ("OUEA") is the
  22   “recognized employee organization"
       "recognized          organization” in the Orange Unified School District, within
  23       meaning of
       the meaning of CAL.
                      CAL. GOV’T. CODE
                           Gov'T. CODE §§3546.
                                          3546.OUEA
                                               OUEAisisheadquartered
                                                       headquartered in Orange,
  24   California, and conducts its business and operations in the County of Orange. Its
  25   state affiliate is CTA and its national affiliate is NEA.
  26            21.      Defendant United Teachers Los Angeles
                                                       Angeles (“UTLA”)
                                                               ("UTLA") is the “recognized
                                                                               "recognized
  27   employee organization”
                organization" in the Los Angeles Unified School District, within the
  28           of CAL.
       meaning of CAL. GOV’T. C
                       Gov'T.  ODE §§3546.
                              CODE    3546.UTLA
                                           UTLAisisheadquartered
                                                    headquartered in
                                                                   in Los
                                                                      Los Angeles,

                                                         8
                                                     COMPLAINT
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   1   California, and conducts its business and operations in the State of California. Its
   2   state affiliate is CTA and its national affiliate is NEA.
   3            22.      Defendant Saddleback Valley Unified School District is a public
   4   school district located in Mission Viejo, California, in the County of Orange.
   5   Saddleback Valley Unified School District
                                        District is
                                                 is an
                                                    an “employer”
                                                       "employer" of Scott Wilford
   6   within the
       within  themeaning
                  meaningofofCAL.
                              CAL.GOv'T.
                                  GOV’T.CODE
                                         CODE §§ 3546.
                                                 3546.
   7            23.      Defendant Exeter Unified School District is a public school district
   8   located in Exeter, California. Exeter Unified School District
                                                            District is
                                                                     is an
                                                                        an “employer”
                                                                           "employer" of
   9   Bonnie Hayhurst
       Bonnie Hayhurstwithin
                       withinthe
                              themeaning
                                  meaningofofCAL.
                                              CAL.GOv'T.
                                                  GOV’T.CODE
                                                         CODE §§ 3546.
  10            24.      Defendant Savanna School District is a public school district located
  11   in Anaheim, California, in the County of Orange. Savanna School District is or
  12          “employer” of
       was an "employer" of Rebecca
                            Rebecca Friedrichs
                                    Friedrichs within
                                               within the
                                                       the meaning
                                                           meaning of
                                                                   of CAL.
                                                                      CAL. GOV’T.
                                                                           Gov'T.
  13   C ODE §§ 3546.
       CODE     3546.
  14            25.      Long Beach Community College District is a community college
  15   located in Long Beach, California. Long Beach Community College District is an
  16   “employer” of
       "employer" ofMichael
                     MichaelMonge
                            Mongewithin
                                  withinthe
                                         themeaning
                                             meaningofofCAL.
                                                         CAL.Gov'T.
                                                             GOV’T.CODE
                                                                    CODE § 3546.
  17            26.      Defendant Coast Community College District is a community college
  18   district located in Costa Mesa, California, in the County of Orange. Coast
  19   Community College District is an “employer”
                                        "employer" of Michael Monge within the
  20   meaningof
       meaning ofCAL.
                 CAL. GOv'T.
                      GOV’T. CODE
                             CODE §§ 3546.
                                     3546.
  21            27.      Defendant South Orange County Community College District is a
  22   community college district located in Mission Viejo, California, in the County of
  23   Orange. South Orange County Community College District is an
                                                                 an “employer”
                                                                    "employer" of
  24   Michael Monge
       Michael Mongewithin
                     withinthe
                            themeaning
                                meaningofofCAL.
                                            CAL.GOv'T.
                                                GOV’T.CODE
                                                       CODE §§ 3546.
  25            28.      Defendant Sanger Unified School District is a public school district
  26   located in Sanger, California. Sanger Unified School District
                                                            District is
                                                                     is an
                                                                        an “employer”
                                                                           "employer" of
  27          Elrich within
       Harlan Elrich withinthe
                            themeaning
                               meaningofofCAL.
                                           CAL.GOv'T.
                                               GOV’T.CODE
                                                      CODE §§ 3546.
  28

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    1            29.      Defendant Orange Unified School District is a public school district
    2   located in Orange, California, in the County of Orange. Orange Unified School
    3   District is an "employer"
                       “employer” of
                                  of Jelena
                                     Jelena Figueroa
                                            Figueroa within
                                                     within the
                                                             the meaning
                                                                 meaning of
                                                                         of CAL.
                                                                            CAL. GOV’T.
                                                                                 Gov'T.
    4   C ODE §§ 3546.
        CODE     3546.
    5            30.
                 30.      Defendant Los Angeles Unified School District is a public school
    6   district located in Los Angeles, California. Los Angeles Unified School District is
    7      “employer” of
        an "employer" ofMichael
                         MichaelRauseo
                                Rauseowithin
                                       withinthe
                                              themeaning
                                                  meaningofofCAL.
                                                              CAL.Gov'T.
                                                                  GOV’T.CODE
                                                                         CODE §
    8   3546.
    9            31.
                 31.      Defendant school superintendents and chancellors are the executive
   10   officers in charge of the school districts that employ Plaintiffs,
                                                               Plaintiffs, pay
                                                                           pay Plaintiffs’
                                                                               Plaintiffs'
   11   wages, and process all deductions therefrom, including union dues and fair share
   12   service fees pursuant to agency shop arrangements authorized under Chapter 10.7
   13   of Division
           Division44ofofTitle
                          TitleI Iofofthe
                                        theCAL.
                                            CALGov'T.
                                                . GOV’TCODE
                                                        . CODEand
                                                               andCAL.
                                                                   CAL.EDUC.
                                                                        EDUC. CODE
                                                                              CODE §§ 45061.
                                                                                      45061.
   14   Defendant school superintendents are sued in their official capacity.
   15            32.
                 32.      Defendant Dr. Crystal Turner (“Turner”)
                                                       ("Turner") is the superintendent of the
   16   Saddleback Valley Unified School District in the County of Orange, and is the
   17   executive officer who implements the deduction of fair share service fees from the
   18   paychecks of Plaintiff Scott Wilford.
   19            33.
                 33.      Defendant Tim Hire (“Hire”)
                                             ("Hire") is the superintendent of the Exeter
   20   Unified School District, and is the executive officer who implements the deduction
   21   of fair share service fees from the paychecks of Plaintiff Bonnie Hayhurst.
   22            34.
                 34.      Defendant Dr. Sue Johnson (“Johnson”)
                                                    ("Johnson") is the superintendent of the
   23   Savanna School District in the County of Orange, and is the executive officer who
   24   implemented the deduction of fair share service fees from the paychecks of
   25   Plaintiff Rebecca Friedrichs.
   26            35.
                 35.      Defendant Dr. Reagan Romali (“Romali”)
                                                      ("Romali") is the superintendent of the
   27   Long Beach Community College District in the County of Orange, and is the
   28

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    1   executive officer who implements the deduction of fair share service fees from the
    2   paychecks of Plaintiff Michael Monge.
    3            36.
                 36.      Defendant Dr. John Weispfenning (“Weispfenning”)
                                                          ("Weispfenning") is the chancellor
    4   of the Coast Community College District in the County of Orange, and is the
    5   executive officer who implements the deduction of fair share service fees from the
    6   paychecks of Plaintiff Michael Monge.
    7            37.
                 37.      Defendant Dr. Kathleen Burke (“Burke”)
                                                       ("Burke") is the chancellor of the
    8   South Orange County Community College District in the County of Orange, and is
    9   the executive officer who implements the deduction of fair share service fees from
   10   the paychecks of Plaintiff Michael Monge.
   11            38.
                 38.      Defendant Matthew Navo (“Navo”)
                                                 ("Navo") is the superintendent of the
   12   Sanger Unified School District, and is the executive officer who implements the
   13   deduction of fair share service fees from the paychecks of Plaintiff Harlan Elrich.
   14            39.
                 39.       Defendant Dr. Gunn Marie Hansen (“Hansen”)
                                                           ("Hansen") is the superintendent
   15   of the Orange Unified School District in the County of Orange, and is the
   16   executive officer who implements the deduction of fair share service fees from the
   17   paychecks of Plaintiff Jelena Figueroa.
   18            40.      Defendant Austin Beutner (“Beutner”)
                                                   ("Beutner") is the superintendent of the
   19   Los Angeles Unified School District, and is the executive officer who implements
   20   the deduction of fair share service fees from the paychecks of Plaintiff Michael
   21   Rauseo.
   22                                      JURISDICTION AND VENUE
   23            41.      The Court has subject-matter jurisdiction under 28 U.S.C. §§ 1331,
   24   1343, 1367, and 2201.
   25            42.      Venue is proper under 28 U.S.C. §§ 1391(b)(1) and (2) because one or
   26   more of the defendants reside in this judicial district and all defendants are
   27   residents of this State (within the meaning 28 U.S.C. § 1391(c)) and because a
   28   substantial part of the events or omissions giving rise to the claim occurred, and a

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    1   substantial part of property that is the subject of this action is situated, in this
    2   judicial district.
    3                                        GENERAL ALLEGATIONS
    4            43.            CAL. G
                          Under CAL.  OV’T. C
                                     Gov'T.  ODE §§3543(a),
                                            CODE    3543(a),the
                                                             thepublic
                                                                 publicschool
                                                                        school employees
                                                                               employees of
    5   each of the Defendant school districts chose to be represented by the corresponding
    6   Defendant labor union, which then was recognized as the exclusive representative of
    7   the district’s
            district's employees.
    8            44.            CAL. G
                          Under CAL.  OV’T. C
                                     Gov'T.  ODE §§3543(a),
                                            CODE    3543(a),“public
                                                             "publicschool
                                                                     school employees
                                                                            employees who are
    9   in a unit for which an exclusive representative has been selected, shall be required, as
   10   a condition of continued employment, to join the recognized employee organization
   11   or to pay the organization a fair share services fee, as required by Section 3546.”
                                                                                     3546."
   12            45.      Under CAL.
                          Under CAL. GOV’T. CCODE
                                     GOV'T.   ODE § §3543(a),
                                                      3543(a),the
                                                               thepublic
                                                                   publicschool
                                                                          schoolemployer
                                                                                employer for
   13   each Plaintiff deducts the amount of the fair share
                                                      share service
                                                            service fee
                                                                    fee from
                                                                        from that
                                                                              that Plaintiff’s
                                                                                   Plaintiff's
   14   wages and salary and pays that amount to the Defendant union representing the
   15   employees of that public school employer.
   16            46.      Each Plaintiff chose not to join the exclusive representative in his or her
   17   school district. Nevertheless,
                         Nevertheless, under
                                       under Chapter
                                             Chapter 10.7
                                                     10.7 of
                                                          of Division 4 of Title 1 of the
   18   California Government Code:
   19                     a.
                          a.       Defendants Saddleback Valley Unified School District and
   20            Turner have withheld from Plaintiff Scott Wilford’s
                                                           Wilford's pay fair share service fees
   21            and paid those fees to Defendant
                                        Defendant SVEA.
                                                  SVEA. Defendant SVEA forwarded portions
   22            of these fees to Defendant CTA and either Defendant SVEA or Defendant
   23            CTA forwarded portions of these fees to Defendant NEA.
   24                     b.       Defendants Exeter Unified School District and Hire have
   25            withheld from Plaintiff Bonnie Hayhurst’s
                                                Hayhurst's pay fair share service fees and paid
   26            those fees to Defendant ETA. Defendant
                                              Defendant ETA
                                                        ETA forwarded portions of these
   27            fees to Defendant CTA and either Defendant ETA or Defendant CTA
   28            forwarded portions of these fees to Defendant NEA.

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    1                     c.
                          c.       Defendants Savanna School District and Johnson have withheld
    2            from Plaintiff Rebecca Friedrichs’s
                                        Friedrichs's pay fair share service fees and paid those
    3            fees to Defendant SDTA. Defendant
                                         Defendant SDTA
                                                   SDTA forwarded
                                                        forwarded portions of these fees
    4            to Defendant CTA and either Defendant SDTA or Defendant CTA forwarded
    5            portions of these fees to Defendant NEA.
    6                     d.
                          d.       Defendants Long Beach Community College District and Romali
    7            have withheld from Plaintiff Michael Monge’s
                                                      Monge's pay fair share service fees and
    8            paid those fees to Defendant CHI. Defendant CBI
                                              CHI. Defendant CHI forwarded
                                                                 forwarded portions of these
    9            fees to Defendant CCA, either Defendant CHI
                                                         CBI or Defendant CCA forwarded
   10            portions of these fees to Defendant CTA, and either Defendant CHI
                                                                               CBI or
   11            Defendant CCA or Defendant CTA forwarded portions of these fees to
   12            Defendant NEA.
   13                     e.
                          e.       Defendants Coast Community College District and Weispfenning
   14            have withheld from Plaintiff Michael Monge’s
                                                      Monge's pay fair share service fees and
   15            paid those fees to Defendant
                                    Defendant CFE.
                                              CFE. Defendant CFE forwarded portions of
   16            these fees to Defendant CFT and either Defendant CFE or Defendant CFT
   17            forwarded portions of these fees to Defendant AFT.
   18                     f.
                          f.       Defendants South Orange County Community College District
   19            and Burke have withheld from Plaintiff Michael
                                                        Michael Monge’s
                                                                Monge's pay fair share
   20            service fees and paid those fees to Defendant SOCCCDFA. Defendant
   21            SOCCCDFA forwarded portions of these fees to Defendant CCA, either
   22            Defendant SOCCCDFA or Defendant CCA forwarded portions of these fees
   23            to Defendant CTA, either Defendant SOCCCDFA or Defendant CCA or
   24            Defendant CTA forwarded
                                forwarded portions
                                          portions of
                                                   of these
                                                      these fees to Defendant NEA.
   25                     g.
                          g.       Defendants Sanger Unified School District and Navo have
   26            withheld from Plaintiff Harlan Elrich’s
                                                Elrich's pay fair share service fees and paid
   27            those fees to Defendant SUTA. Defendant
                                               Defendant SUTA
                                                         SUTA forwarded portions of these
   28            fees to Defendant CTA and either Defendant SUTA or Defendant CTA

                                                         13
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    1            forwarded portions of these fees to Defendant NEA.
    2                     h.       Defendants Orange Unified School District and Hansen have
    3            withheld from Plaintiff Jelena Figueroa’s
                                                Figueroa's pay fair share service fees and paid
    4            those to Defendant OUEA. Defendant
                                          Defendant OUEA
                                                    OUEA forwarded
                                                         forwarded portions of these
    5            fees to Defendant CTA and either Defendant OUEA or Defendant CTA
    6            forwarded portions of these fees to Defendant NEA.
    7                     i.
                          i.       Defendants Los Angeles Unified School District and Beutner
    8            have withheld from Plaintiff Michael Rauseo’s
                                                      Rauseo's pay fair share service fees and
    9            paid those to Defendant UTLA. Defendant
                                               Defendant UTLA
                                                         UTLA forwarded portions of these
   10            fees to Defendant CTA and either Defendant UTLA or Defendant CTA
   11            forwarded portions of these fees to Defendant NEA.
   12            47.               Defendants SVEA, ETA, SDTA, CHI, CFE, SOCCCDFA,
   13   SUTA, OUEA, and UTLA are collectively referred to as the
                                                             the “Local
                                                                 "Local Unions.”
                                                                        Unions."
   14   Defendants CTA, CFT, and CCA are
                                     are referred
                                         referred to
                                                   to as
                                                      as the
                                                          the “State
                                                               "State Unions.”
                                                                      Unions." Defendants
   15   NEA and AFT are referred to as the “National
                                           "National Unions.”
                                                     Unions."
   16            48.      This agency-fee scheme violates the free speech rights of Plaintiffs by
   17   compelling them to subsidize private speech on matters of substantial public
   18   concern, as the Supreme Court recognized in Janus v. AFSCME, --- U.S. ---, 2018
   19   WL 312785 (June 27, 2018). No
                                   No compelling
                                      compelling or otherwise sufficient governmental
   20   interest justifies the compulsory political representation imposed on teachers. Id. at
   21   *11-14. Asaaresult,
        *1144. As    result,"public-sector
                             “public-sector agency-shop
                                            agency-shop arrangements"
                                                        arrangements” like those here
   22   “violate the First Amendment.”
        "violate           Amendment." Id. at *23.
   23            49.      The representative plaintiffs are bringing this action at this time to
   24   preserve the class members’
                           members' ability to seek retrospective relief against the
   25   defendants for as far back as the applicable statutes of limitations will allow.
   26                                           CLASS ALLEGATIONS
   27            50.      The representative plaintiffs bring this class action under Fed. R. Civ.
   28   P. 23(b)(1)(A), (b)(2), and (b)(3). The class comprises each individual who: (1) is

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    1   not a member of a union; (2) has had fair share service fees or union agency fees
    2   deducted from the money paid to him/her by his/her employer, which fees have
    3   been remitted to one of the Local, State, or National Unions; and (3) has not
    4   affirmatively consented in writing to pay the fees. The class includes everyone who
    5   comes within the class definition at any time covered by the claims and until the
    6   conclusion of this action.
    7            51.      The representative plaintiffs also assert the following subclasses:
    8       a. The “NEA
            a.     "NEA Subclass”
                        Subclass" comprises each
                                            each individual
                                                 individual who:
                                                            who: (1) is not a member of
    9            a union; (2) has had fair share service fees or union agency fees deducted
   10            from the money paid to him/her by his/her employer, which fees have been
   11            remitted to NEA; and (3) has not affirmatively consented in writing to pay
   12            the fees.
   13       b. The “AFT
                   "AFT Subclass”
                        Subclass" comprises each
                                            each individual
                                                 individual who:
                                                            who: (1) is not a member of
   14            a union; (2) has had fair share service fees or union agency fees deducted
   15            from the money paid to him/her by his/her employer, which fees have been
   16            remitted to AFT; and (3) has not affirmatively consented in writing to pay
   17            the fees.
   18       c.
            c. The “CTA
                   "CTA Subclass”
                        Subclass" comprises each
                                            each individual
                                                 individual who:
                                                            who: (1) is not a member of
   19            a union; (2) has had fair share service fees deducted from the money paid to
   20            him/her by his/her employer, which fees have been remitted to CTA; and
   21            (3) has not affirmatively consented in writing to pay the fees.
   22       d. The “CFT
                   "CFT Subclass”
                        Subclass" comprises each
                                            each individual
                                                 individual who:
                                                            who: (1) is not a member of
   23            a union; (2) has had fair share service fees deducted from the money paid to
   24            him/her by his/her employer, which fees have been remitted CFT; and
   25            (3) has not affirmatively consented in writing to pay the fees.
   26       e.
            e. The “CCA
                   "CCA Subclass”
                        Subclass" comprises each
                                            each individual
                                                 individual who:
                                                            who: (1) is not a member of
   27            a union; (2) has had fair share service fees deducted from the money paid to
   28            him/her by his/her employer, which fees have been remitted CCA; and

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    1            (3) has not affirmatively consented in writing to pay the fees.
    2       f.
            f. The “SVEA
                   "SVEA Subclass”
                         Subclass" comprises each individual
                                                  individual who:
                                                             who: (1) is not a member
    3            of a union; (2) has had fair share service fees deducted from the money paid
    4            to him/her by his/her employer, which fees have been remitted to SVEA;
    5            and (3) has not affirmatively consented in writing to pay the fees.
    6       g. The “ETA
                   "ETA Subclass”
                        Subclass" comprises each
                                            each individual
                                                 individual who:
                                                            who: (1) is not a member of
    7            a union; (2) has had fair share service fees deducted from the money paid to
    8            him/her by his/her employer, which fees have been remitted to ETA; and
    9            (3) has not affirmatively consented in writing to pay the fees.
   10       h. The “SDTA
                   "SDTA Subclass”
                         Subclass" comprises each individual
                                                  individual who:
                                                             who: (1) is not a member
   11            of a union; (2) has had fair share service fees deducted from the money paid
   12            to him/her by his/her employer, which fees have been remitted to SDTA;
   13            and (3) has not affirmatively consented in writing to pay the fees.
   14       i. The “CHI
                   "CHI Subclass”
                        Subclass" comprises each
                                            each individual
                                                 individual who:
                                                            who: (1) is not a member of
   15            a union; (2) has had fair share service fees deducted from the money paid to
   16            him/her by his/her employer, which fees have been remitted to CHI; and
   17            (3) has not affirmatively consented in writing to pay the fees.
   18       j. The “CFE
                   "CFE Subclass”
                        Subclass" comprises each
                                            each individual
                                                 individual who:
                                                            who: (1) is not a member of
   19            a union; (2) has had fair share service fees deducted from the money paid to
   20            him/her by his/her employer, which fees have been remitted to CFE; and
   21            (3) has not affirmatively consented in writing to pay the fees.
   22       k. The “SOCCCDFA
                   "SOCCCDFA Subclass”
                             Subclass" comprises each
                                                 each individual
                                                      individual who:
                                                                 who: (1) is not a
   23            member of a union; (2) has had fair share service fees deducted from the
   24            money paid to him/her by his/her employer, which fees have been remitted
   25            to SOCCCDFA; and (3) has not affirmatively consented in writing to pay
   26            the fees.
   27       l. The
            1.  The"SUTA
                    “SUTASubclass"
                         Subclass”comprises
                                   comprises each
                                             each individual who: (1)
                                                                   (1) is
                                                                        is not
                                                                           not a member
   28            of a union; (2) has had fair share service fees deducted from the money paid

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    1            to him/her by his/her employer, which fees have been remitted to SUTA;
    2            and (3) has not affirmatively consented in writing to pay the fees.
    3       m. The “OUEA
                   "OUEA Subclass”
                         Subclass" comprises each individual
                                                  individual who: (1) is not a member
                                                             who: (1)
    4            of a union; (2) has had fair share service fees deducted from the money paid
    5            to him/her by his/her employer, which fees have been remitted to OUEA;
    6            and (3) has not affirmatively consented in writing to pay the fees.
    7       n. The “UTLA
                   "UTLA Subclass”
                         Subclass" comprises each individual
                                                  individual who:
                                                             who: (1) is not a member
    8            of a union; (2) has had fair share service fees deducted from the money paid
    9            to him/her by his/her employer, which fees have been remitted to UTLA;
   10            and (3) has not affirmatively consented in writing to pay the fees.
   11            52.      The number of persons in the class and each subclass makes joinder of
   12   the individual class members impractical.
   13            53.      There are questions of fact and law common to the class and the
   14               Factually, all
        subclasses. Factually, all class
                                   class and
                                         and subclass
                                             subclass members
                                                      members are public employees and
   15   union nonmembers compelled to pay fair share service fees or agency fees to
   16   Defendants as a condition of employment. Legally, the U.S. Constitution affords
                                     employment. Legally,
   17   the same rights under the First Amendment to every member of the class as the
   18   Supreme Court recently held in Janus v. AFSCME, --- U.S. ---, 2018 WL 3129785.
   19   Among the common questions are: (1) whether
                                   are: (1) whether the
                                                    the requirement of paying the fair
   20   share service fee or agency fee is constitutional; (2) whether the withholding of the
   21   fair share service fee or agency fee is a tort under state law; and (3) whether
   22   Defendants are obligated to refund fair share service fees that have been
   23   unlawfully extracted.
   24            54.      The representative plaintiffs’
                                             plaintiffs' claims are typical of other members of
   25   the class and their respective subclasses because each member of the class or
   26   subclass has declined to join a union, yet is forced under state law and contract
   27   provisions to financially support the union and its inherently political activities.
   28

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    1            55.      The representative plaintiffs adequately represent the interests of the
    2   class and their respective subclasses and they have no interests antagonistic to the
    3   class. Further,
               Further, the
                         the undersigned
                             undersigned counsel
                                         counsel is experienced in the litigation of
    4   constitutional deprivations, including First Amendment claims, and class action
    5   litigation.
    6            56.      A class action may be maintained under Rule 23(b)(1)(A) because
    7   separate actions by class and subclass members would create a risk of inconsistent
    8   or varying adjudications that would establish incompatible standards of conduct for
    9   Defendants.
   10            57.      A class action may be maintained under Rule 23(b)(2) because final
   11   injunctive relief and corresponding declaratory relief is appropriate respecting the
   12   class and subclasses as a whole. Plaintiffs
                                         Plaintiffs are
                                                    are also entitled to recover incidental
   13   monetary relief that will not involve individualized determinations of each
   14   plaintiff’s entitlement
        plaintiff's entitlement to monetary relief.
   15            58.      A class action may be maintained under Rule 23(b)(3) because the
   16   questions of law or fact common to class members predominate over any questions
   17   affecting only individual members. In addition,
                                  members. In addition, aa class
                                                           class action is superior to other
   18   available methods for fairly and
                                     and efficiently
                                         efficiently adjudicating
                                                     adjudicating the
                                                                   the controversy.
                                                                       controversy. Among
   19   other things, all class and subclass members are subjected to the same violation of
   20   their constitutional rights but the amount of money involved
                                                            involved in
                                                                     in each
                                                                        each individual’s
                                                                              individual's
   21   claim would make it burdensome for class members to maintain separate actions.
   22            59.      The representative plaintiffs, by and through their counsel of record,
   23   maintain that the class action could be maintained without notice to the proposed
   24   class under FRCP 23(b)(1)
                         23(b)(1) or
                                  or (2). To the
                                     (2). To the extent
                                                 extent notice is required, the
   25   representative plaintiffs, by and through their counsel of record, will obtain court
   26   approval of the manner and nature of the notice to be given.
   27

   28

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    1                                            CAUSES OF ACTION
    2                                        FIRST CAUSE OF ACTION
    3                                        Violation of 28 U.S.C. § 1983
    4                                                 (All Defendants)
    5            60.      Plaintiffs hereby allege and incorporate by reference, as though fully
    6   set forth herein, the allegations contained in Paragraphs 1 through 59.
    7            61.      Defendants are acting under the color of state law by causing,
    8   participating in, and accepting the compulsory deduction of fair share service fees
    9   from monies owed to Plaintiffs. Specifically, the defendant school districts and
                            Plaintiffs. Specifically,
   10   superintendents are assisting the defendant unions in coercing Plaintiffs to finance
   11       unions’ activities,
        the unions' activities, and
                                and the
                                    the unions are acting in concert with a public agency and
   12   with authority granted by statute to deprive Plaintiffs of their constitutional rights.
   13            62.      Defendants, acting under color of state law have created,
   14   administered, and enforced laws unlawfully requiring Plaintiffs to pay fair share
   15   service fees to the Defendant
                            Defendant unions
                                      unions as
                                             as aa condition
                                                   conditionfor
                                                             forPlaintiffs’
                                                                Plaintiffs' employment.
                                                                            employment. In
   16   so doing, Defendants have violated and continue
                                               continue to
                                                        to violate
                                                           violate Plaintiffs’
                                                                   Plaintiffs' First
   17   Amendment Rights to free speech and association as secured by the Fourteenth
   18   Amendment to the U.S. Constitution and 42 U.S.C. § 1983.
   19            63.      State law and collective-bargaining agreements permitting and
   20   imposing compulsory fair share service fees on public employees who do not wish
   21   to associate or support a union are not narrowly tailored to serve a compelling
   22   government interest.
   23            64.      By compelling the representative Plaintiffs and the class members to
   24   financially support the unions, including for purposes of speaking to, petitioning,
   25   and otherwise lobbying the State and its officials with respect to political matters
   26   such as the negotiation and enforcement of collective bargaining rights and
   27   obligations, Defendants are abridging and violating the rights of the representative
   28   Plaintiffs and the class members to freedom of association and freedom of speech,

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    1   and to petition the government for redress of grievances under the First
    2   Amendment to the United States Constitution, in violation of the Fourteenth
    3   Amendment and 42 U.S.C. § 1983.
    4            65.      Defendants have violated Plaintiffs’
                                                   Plaintiffs' First Amendment rights of
    5   freedom of speech and association as secured against state infringement by the
    6   Fourteenth Amendment and 42 U.S.C. § 1983.
    7            66.      Unless enjoined by the Court, the representative Plaintiffs and the
    8   class members will continue to suffer irreparable harm, damage, and injury for
    9   which there is no adequate remedy at law.
   10                                      SECOND CAUSE OF ACTION
   11                                                   Conversion
   12                                                 (All Defendants)
   13            67.      Plaintiffs hereby allege and incorporate by reference, as though fully
   14   set forth herein, the allegations contained in Paragraphs 1 through 66.
   15            68.      Plaintiffs, at all times relevant hereto, owned and/or had the sole right
   16   to possession of the monies withheld from them in the form of fair share service
   17   fees paid to the defendant unions.
   18            69.      Defendants wrongfully dispossessed Plaintiffs of monies by imposing
   19   unlawful fair share service fees against Plaintiffs as condition
                                                               condition for
                                                                         for the
                                                                             the Plaintiffs’
                                                                                 Plaintiffs'
   20   employment with the defendant school districts.
   21            70.      As a direct and proximate result of the above wrongful conduct of
   22   Defendants, Plaintiffs have been damaged in an amount to be proven at trial, but
   23   not less than the full amount of monies withheld from them in the form of fair
   24   share service fees paid to the defendant unions.
   25

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    1                                       THIRD CAUSE OF ACTION
    2                                Restitution of Money Had and Received
    3                                                 (All Defendants)
    4            71.      Plaintiffs hereby allege and incorporate by reference, as though fully
    5   set forth herein, the allegations contained in Paragraphs 1 through 70.
    6            72.      The defendant unions received monies in the form of unlawful fair
    7   share service fees from Plaintiffs.
    8            73.      Defendants’ imposition
                          Defendants' imposition and
                                                 and collection of the fair share service fees
    9   violates Plaintiffs’ First Amendment
                 Plaintiffs' First Amendment Rights and is, therefore, unconstitutional.
   10            74.      At all times relevant hereto, the monies the defendant unions received
   11   belonged to and were for the use of Plaintiffs.
   12            75.      The defendant unions are indebted to Plaintiffs in the amount of the
   13   fair share service fees they obtained on account of Plaintiffs.
   14            76.      By this Complaint, Plaintiffs demand restitution from the defendant
   15   unions for all fair share service fees obtained by the defendant unions.
   16                                           DEMAND FOR RELIEF
   17            Plaintiffs respectfully request this Court:
   18            A.       Certify a class and subclasses consistent with the definitions stated in
   19   this Complaint.
   20            B.       Issue a declaratory judgment against the defendant school districts and
   21       defendant superintendents
        the defendant superintendents (in  their official
                                       (in their official capacities),
                                                          capacities), and
                                                                       and the
                                                                            the defendant
                                                                                 defendant
   22   unions providing that:
   23                     1.
                          1.          is unconstitutional
                                   It is  unconstitutional under
                                                           under the First
                                                                     First Amendment,
                                                                           Amendment, as secured
                                                                                         secured
   24            against state infringement
                 against       infringement by
                                            by the Fourteenth
                                                   Fourteenth Amendment
                                                              Amendment and
                                                                        and 42 U.S.C. §
                                                                            42 U.S.C.
   25            1983, to withhold
                 1983,    withhold or require payment
                                              payment of fair share service fees or agency
                                                                                    agency
   26            fees from Plaintiffs and the class members;
   27                     2.       The provisions
                                   The provisions of CAL.
                                                     CAL. Gov'T
                                                          GOV’T CODE
                                                                CODE §§3546
                                                                        3546 that
                                                                              that allow
                                                                                   allow the
   28            imposition of
                 imposition    fair share
                            of fair share service
                                          service fees
                                                  fees is
                                                        is unconstitutional
                                                            unconstitutional under
                                                                             under the First
                                                                                       First

                                                            21
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    1            Amendment, as
                 Amendment,     secured against
                             as secured against State
                                                State infringement
                                                       infringement by the
                                                                        the Fourteenth
                                                                             Fourteenth
    2            Amendment and 42 U.S.C. § 1983, and is null and void.
    3                     3.           collective bargaining
                                   Any collective bargaining agreement
                                                             agreement provision
                                                                       provision imposing
                                                                                 imposing fair
    4            share service fees or agency fees against Plaintiffs
                                                           Plaintiffs or the class members is
    5            unconstitutional under
                 unconstitutional  underthe
                                         the First Amendment, as
                                             First Amendment,    secured against
                                                              as secured against State
                                                                                 State
    6            infringement by
                 infringement by the Fourteenth
                                     Fourteenth Amendment
                                                Amendment and
                                                          and 42
                                                              42 U.S.C.
                                                                 U.S.C. § 1983,
                                                                          1983, and
                                                                                and is
    7            null and void.
    8            C.
                 C.       Permanently
                          Permanently enjoin
                                      enjoin Defendants,
                                             Defendants, along
                                                         along with       officers, agents,
                                                               with their officers, agents,
    9   servants, employees,
                  employees, attorneys,
                             attorneys, and
                                        and any
                                            any other
                                                other person
                                                      person or entity in active concert or
   10   participation with them, from collecting fair share service fees or agency fees from
   11   Plaintiffs or the class members.
   12            D.       Permanently enjoin the defendant school districts and superintendents,
   13   along with their
        along      their officers,
                         officers, agents,
                                   agents, servants,
                                           servants, employees,
                                                     employees, attorneys,
                                                                attorneys, and     other
                                                                           and any other
   14   person or entity in active
        person              active concert
                                   concert or
                                           or participation
                                              participation with them,
                                                                 them, from enforcing
                                                                            enforcing the
   15                 CAL. G
        provisions of CAL.  OV’T C
                           Gov'T   ODE §§3546
                                 CODE     3546that
                                               thatallow
                                                    allowthe
                                                          theimposition
                                                              imposition and
                                                                         and collection
                                                                             collection of
   16   fair share service fees from Plaintiffs or the class members.
   17            E.       Order
                          Order the defendant unions
                                the defendant unions to disgorge and
                                                     to disgorge     refund all
                                                                 and refund     fair share
                                                                            all fair share
   18   service fees or agency fees unlawfully withheld or collected (directly or indirectly)
   19   from Plaintiffs and the class members, along with pre-judgment and post-judgment
   20   interest.
   21            F.       Award Plaintiffs damages under 42 U.S.C. § 1983.
   22            G.
                 G.       Award Plaintiffs their reasonable
                                                 reasonable attorneys’
                                                            attorneys' fees, costs, and expenses
   23   under 42 U.S.C. § 1988.
   24   II-
        ///
   25   I"
        ///
   26   II-
        ///
   27   I"
        ///
   28   III
        ///

                                                         22
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    1            H.       Award any other relief this Court deems just and proper.
    2

    3   Dated: July 2, 2018
        Dated: July                                    CLARK HILL LLP
    4

    5
                                                       By:
    6                                                             Bradford G. Hughes
    7                                                  Attorneys for Plaintiffs and Proposed Class
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